Case 1:18-cv-00465-LEW Document 18-1 Filed 11/13/18 Page 1 of 2                      PageID #: 116



                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

BRETT BARBER, TERRY HARM, MARY                        )
MARY HARTT, and BRUCE POLIQUIN,                       )
                                                      )
                Plaintiffs,                           )
                                                      )
v.                                                    )       No. 1:18-CV-00465-LEW
                                                      )
MATTHEW DUNLAP,                                       )
Secretary of State of Maine,                          )
                                                      )
                Defendant.                            )

     DECLARATION OF ELLYN W. SMITH IN SUPPORT OF INTERVENOR JARED
      GOLDEN’S OPPOSITION TO PLAINTIFFS’ MOTION FOR A TEMPORARY
                         RESTRAINING ORDER

Pursuant to 28 U.S.C. § 1746, I, Ellyn Smith, declare as follows:

        1.      I reside at 63 Church Street, Presque Isle, Maine. I am a registered Maine voter at

this address.

        2.      In the November 6, 2018 general election, I utilized Maine’s Ranked-Choice

Voting (“RCV”) system when voting for candidates for election in Maine’s Second Congressional

District. I voted for three candidates in the following order: (1) Tiffany Bond; (2) Jared Golden;

and (3) William Hoar. I did not rank Bruce Poliquin at all.

        3.      I voted in this manner on the understanding that my vote in each round of voting

would go to my highest-ranked candidate remaining in that round.

        4.      Had the RCV system not been in place, and I was only able to select one

candidate in the contest in Maine’s Second Congressional District in the November 6, 2018

general election, I would have voted for Jared Golden.
Case 1:18-cv-00465-LEW Document 18-1 Filed 11/13/18 Page 2 of 2   PageID #: 117
